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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Harrisonburg Division

KEVIN JENKINS,
                         Plaintiff,

v.                                                 Civil Action No. 5:19-cv-00028-EKD

STEVEN KAY EYE A, INC.,
               Defendant.

                      STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff and

Defendant stipulate to the dismissal with prejudice of all claims in the above-styled action.

          There are no longer any issues in this action between Plaintiff and Defendant to be

determined by the Court, and the court shall retain jurisdiction for the purpose of enforcement of

the parties’ settlement agreement pursuant to Kokkonen v. Guardian Life Ins. Co., 311 U.S. 575

(1994).

          Respectfully submitted this 28th day of October, 2019.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of October, 2019, this document was filed with the
Court's CM/ECF system, which will provide service copies on the following counsel of record:


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